 

sTATE oF NoRTH cAROLINA F 5 5 § BTHE GENERAL coURT oF JUSTICE
L~ i- sUPEmoR COURT DIvlsloN
FoRsYTH CoUNTY CASE No. ‘~l 7§>8

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REBECCA KovALICH and sUz »--
NAGELSKI, M`i rig CO" C'S'C'
BY

Plaintiffs,
COMPLAINT

v.
JURY TRIAL DEMANDED
PREFERRED PAiN MANAGEMENT &
SPINE CARE, P.A., DR. DAVID SPlVEY,
individually, and SHERRY SPIVEY,
individually.

Defendant.

 

I. INTRODUCTION

l. Enough is enough. Plaintiff`s Rebecca Kovalich (“Rebecca” or “Plaintiff` Kovalich”)
and Suzanne Nagelski (“Suzanne” or “Plaintifl` Nagelski”) have suffered silently for too long.
Defendants Preferred Pain Management & Spine Care, P.A. (“PPM” or “Defendant PPM”), Dr.
David Spivey (“Dr. Spivey” or “Defendant Dr. Spivey”), and Mrs. Sherry Spivey (“Mrs. Spivey”
or “Defendant Mrs. Spivey”) illegally terminated Plaintiffs’ employment and, as a result,
Plaintiffs have suffered tremendously.

2. Furthermore, Dr. Spivey subjected Plaintiif Kovalich to persistent sexual harassment
and propositions while Mrs. Spivey retaliated against Plaintif’f Nagelski for opposing, what she
believed to be, unethical and potentially discriminatory behavior. lt wasn’t long before
Defendants fired Plaintiff Nagelski. Then, when Plaintii’f Nagelski exercised her legal rights and

obtained counsel, Defendants pressured Plaintilf Kovalich to convince Plaintii’f Nagelski to

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“drop it.” When Plaintiff Kovalich refused Defendants’ demand and rejected Dr. Spivey’s sexual
advances, Defendants terminated her employment as well.

3. Accordingly, Plaintit’fs turn to this Court to be made whole for their harms and losses
and ask that it hold Defendants accountable for their actions. Plaintiffs brings claims against
Defendants for violations of the Age Discrimination in Employment Act of 1976 (“ADEA”), 29
U.S.C. § 621 et seq. (Count I); violations of Title VII of the Civil Rights Act of 1964 (“Title
Vll”), 42 U.S.C. § 2000e et seq. (Count 11); Wrongful Discharge in Violation of North Carolina
Public Policy (Count III); Tortious lnterference with Contract (Count lV); and violations of the
Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1140 (Count V).

II. PARTIES, JURISDICTION, AND VENUE

4. Plaintiff Kovalich is a resident of Charleston County, South Carolina, and also resides
in Forsyth County, North Carolina part-time.

5. PlaintiH` Nagelski is a resident of Mecklenburg County, North Carolina.

6. Defendant PPM is a North Carolina Professional Association with its principal place of
business located in Winston-Salem, Forsyth County, North Carolina and has locations in
Greensboro, Guilford County, North Carolina.

7. Defendant Dr. Spivey resides in Forsyth County, North Carolina.

8. Defendant Mrs. Spivey resides in Forsyth County, North Carolina.

9. The events giving rise to this Complaint largely took place in Forsyth County, North
Carolina.

10. Plaintiffs Worked for Defendants at their building located at: 2912 Maplewood

Avenue, Winston-Salem, North Carolina 27103.

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ll. According to the North Carolina Department of the Secretary of State, Defendant
PPM’s registered agent is Defendant Dr. Spivey at 2912 Maplewood Avenue, Winston-Salern,
North Carolina 27103.

12. Plaintiffs seek damages in excess of the sum sufficient for subject matter jurisdiction
to be properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

13. Venue is proper in Forsyth County Superior Court pursuant to N.C. Gen. Stat. §
1-79(a)(1)-(2) and N.C. Gen. Stat. § 1-82. \

III. FACTUAL STATEMENT
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14. Rebecca Was born on October 16, 1944, in Greensboro, North Carolina, and grew up
in Winston-Salem. After high school, Rebecca earned a Bachelor of Science in Management
Information Systems from Gardner Webb in 1986. In 1988, Rebecca went on to obtain a Master
of Business Administration from Wake Forest University.

15. Rebecca worked as a Practice Administrator at Salem Gastroenterology while
studying for her MBA. She used the Health Administration experience to develop two
laboratories for Salern Gastro (Salem Laboratory and Highland Oaks) where she acted as
Managing Partner. Novant Health bought both labs in 1991. Rebecca then started at Triad
Clinical Laboratory and later became a shareholder of Seleet Laboratory Partners, which Were
both thriving successes.

16. Rebecca’s daughter Suzanne was born on December 8, 1966, in Winston~Salem,

North Carolina. Suzanne graduated from Forsyth County Day School and went on to obtain a

Bachelor of Science degree in Environmental Science from UNC Charlotte in 1989.

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17. Suzanne’s career began in Philadelphia, working in hazardous materials and
groundwater cleanup. Suzanne then returned to North Carolina for a similar position with
National Environmental Technologies. She stayed there for five and a half years until the birth of
her daughter. In 1996, Suzanne started with AMEC Earth and Environrnental, and moved to a
position with a veterinary clinic in 2002. Suzanne followed in her mother’s footsteps and
obtained her MBA from Wake Forest University in 2006.

B- Dr._Sruy_ey_RenuutMnd_S.uzanants_Rcamse.

18. ln or around July 2006, Dr. Spivey began recruiting Rebecca. He wanted her to help
him build his new practice, Preferred Pain Management. She assented and began working as a
contract employee ln fact, Mrs. Spivey referred Rebecca to him. She personally knew Rebecca
and boasted of her previous successes in medical practice administration and clinical laboratory
development

19. When Rebecca told Dr. Spivey that it would take at least six months to get PPM up
and running, he was adamant that PPM needed to start in Oetober_only three months later.
Rebecca told Dr. Spivey that she could reach out to an administration group called Piedmont
Community Physicians. She explained that this would be the quickest way to start the practice
and open it by October. Dr. Spivey agreed, and PPM opened its doors as a care center of
Piedmont Community Physicians in or around October 2006.

20. In late 2006, Dr. Spivey contacted Suzanne and asked her to help with PPM’s
management and operations Suzanne obliged and began working with Dr. Spivey and her

mother in December 2006. Suzanne acted as PPM’s business manager.

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C. amongm:ammms.smme

21. From the onset of her tenure with PPM in December 2006, Suzanne’s employment
record was terriflc. She even took on the responsibilities of Human Resources and lT in addition
to her primary role. Like her mother, Suzanne was instrumental in PPM’s success.

22. In or around December 2014, a domestic violence incident occurred between Dr. and
Mrs. Spivey. As a result, authorities took Dr. Spivey to Forsyth County Jail for a mandatory 72-
hour holding, leading to the NC Medical Board Consent Order (signed September 11, 2015, and
revised February 5, 2016). At this point, Mrs. Spivey became directly involved in the running of
PPM.

23. Following his return to work, Dr. Spivey withdrew $100,000 from PPM, which he
kept hidden from Mrs. Spivey. He confided in Suzanne that he previously tried to take money
from his personal joint checking account and Mrs. Spivey became enraged, prompting Dr.
Spivey to return all monies to his personal account. This is what prompted him to withdraw
$100,000 from the PPM account.

24. Suzanne’s issues at PPM began around this time. Mrs. Spivey started to assume a
prominent role in the medical practice. She called Suzanne and asked for confidential
information pertaining to payroll and PPM’s financials. Suzanne informed Mrs. Spivey that these
requests were inappropriate, as Mrs. Spivey was also an employee of PPM who supervised all
clinic staff. When Suzanne refused to provide the information, Mrs. Spivey became irate and
began screaming at Suzanne over the phone, demanding that Suzanne sit down with Mrs. Spivey
and her attorney and provide access to PPM’s books. This incident was overheard by Suza;nne’s

father_former FBI agent Robert Drdak_and daughter, who were both with her at the time.

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25. In or around March 2015, Dr. Spivey instructed Suzanne to provide Mrs. Spivey with
the information that she Warrted. Suzanne told Dr. Spivey that she still did not feel comfortable
releasing confidential company records to Mrs. Spivey during the Spivey’s personal, domestic
legal issues and Dr. Spivey’s ongoing criminal investigation, leading to his North Carolina
Medical Board sanctioned consent order. Suzanne suggested that Dr. Spivey request the
information himself so that he could make the decision Whether to grant his wife access.

26. On May 12, 2015, Mrs. Spivey gained access to Suzanne’s email account with the
help of another employee, Jennifer Bailey. Fearing that Mrs. Spivey had accessed confidential
HR information, Suzanne informed Dr. Spivey of the breach and asked for his direction Dr.
Spivey did not provide Suz.anne with any instruction Suzanne then deleted her company email
account in order to protect private employee information Subsequently, Mrs. Spivey stripped
Suzanne of all IT responsibilities Ms Bailey then sent a letter to one of PPM’s vendors stating
that Suzanne did not have the authority to enter into agreements on behalf of the company.

27. On May 13, 2015, Suzanne received a ca11 from Susan Martinez, an employee of
FlexPay (PPM’s payroll company), informing her that Mrs. Spivey called to demand access to
PPM’s payroll information The Flex-Pay employee informed Suzanne that Mrs. Spivey had
identified herself as the owner of PPM and became very aggressive and threatened to terminate
PPM’s use of Flex-Pay’s payroll services if Flex»Pay did not grant her the requested access
Suzanne immediately made Dr. Spivey aware of the incident Dr. Spivey did not comment.

28. On May 20, 2015, Flex-Pay again contacted Suzarme and informed her that Mrs.
Spivey made a second attempt to gain access to PPM’s payroll information The Flex-Pay

employee reiterated that Mrs. Spivey was exceedingly aggressive in her demands Again,

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Suzanne informed Dr. Spivey of Mrs. Spivey’s attempts to access confidential information, and
again Dr. Spivey took no action.

29. Mrs. Spivey, in early 2015, abruptly began making_or, at a minimum, having
significant influence upon_key personnel decisions

30. On or around July 23, 2015, Mrs. Spivey informed Suzanne that on or around July 31,
2015, PPM would be terminating three employees Mrs. Spivey planned to terminate these
employees without cause, and prearranged their replacements to begin the next business day. The
employees had clean work records at PPM and there were no performance-related termination
reasons As the company’s Human Resources representative, Suzanne expressed that she did not
feel comfortable with these terminations and added that at least one of the employees belonged
to a protected class (over 40, gay). ln other words, Suzanne engaged in protected activity by
opposing a PPM decision that she believed, in good faith, would violate federal anti-
discrimination laws

31. On December 1, 2015, PPM removed Suzanne as head of HR and replaced her with a
44-year-old former Belk Department Store bridal sales consultant with no HR experience Then,
on January 19, 2016, PPM terminated Suzanne’s employment Suzanne was 49 years old at the

time.

32. Suzanne filed a charge with the EEOC on May 27, 2016, for age and sex

discrimination and retaliation (Charge No. 430-2016-01529).

D. Dr. Spivey Subjects Rebecca to Sexual Harassment and Otherwise Illegally Fires
Her.

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33. In or around 2006, while Rebecca was a PPM employee, Dr. Spivey began regularly
hugging and complimenting her. He made sexual innuendos. Rebecca did her best to ignore Dr.
Spivey’s inappropriate behavior.

34. However, Dr. Spivey’s harassment accelerated in or around 2013 and into 2014 after
Rebecca became a PPM employee. Dr. Spivey began sending Rebecca emails that were,
essentially, love letters These letters contained statements like “I want to be your lover” and
“what are you wearing?”

35. In or around late 2013, possibly angered by her husband’s sexual advances towards
Rebecca, Mrs. Spivey berated Rebecca in a conference room full of other employees. As
Rebecca tried to leave, Mrs. Spivey repeatedly slammed the door and screamed, “Fuck you,
Rebeccal” This was at around 5:15 p.m. while PPM employees Were still attending to patients

36. ln or around May 2014, while Rebecca was in Charleston, Dr. Spivey called her and
said that he had to see her. He said that he was corning to Charleston. When Rebecca told him
not to come, Dr. Spivey interrupted and asked, “What are you wearing?”

37. In or around November 2014, Rebecca found herself in a conference room with Dr.
Spivey and another physician. When the other doctor left the room, Dr. Spivey said, “You know,
Rebecca, l gave you a chance.” He then stood up and walked out of the conference room. The
“chance” that he was referring to was a relationship with him.

38. In 2014, Mrs. Spivey began blatantly targeting Rebecca. Mrs. Spivey brought in a
new contract employee, Mary Benton, and assigned her some of Rebecca’s tasks Then Mrs.
Spivey took control of the lab and informed Gretchen Hawks, MT that she should be contacting

Mrs. Spivey directly with lab issues

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39. In or around 0ctober 2015, Rebecca entered Dr. Spivey’s office to ask him a question.
The office door was open, but he was undeterred. While standing in his office, Dr. Spivey
snapped. He grabbed Rebecca and started kissing her. In complete shock, Rebecca froze with
terror. She looked at Dr. Spivey, informed him that this was inappropriate, and told him that she
needed to leave.

40. In or around March 2016, following Suzanne’s termination, Dr. Spivey called
Rebecca with concerns after Suzanne retained legal counsel in relation to her termination Dr.
Spivey told Rebecca that he was not allowed to approach Suzanne. Therefore, he wanted
Rebecca to persuade Suzanne to drop the charge. Rebecca told Dr. Spivey that the issue was
between him and Suzanne. She said that his request was inappropriate and made it clear to Dr.
Spivey that she did not want to get involved.

41. Dr. Spivey retirsed to drop the issue. He asked Rebecca if she would hurt his practice
over this matter. He elaborated, telling Rebecca that she could allege that he was retaliating
against her because Suzanne was threatening to tile an EEOC charge. Rebecca told him that this
was nonsensical

42. On .lune 9, 2016, within two weeks of Suzanne’s filing with the EEOC, PPM
terminated Rebecca’s employment Rebecca was 71 years old at the time. Rebecca was replaced
by Gretchen Hawks, a significantly younger employee (age ~48).

E. PPM’s Decisions to Terminate Rebecca and Suzanne Violate a Sweeping Range of
Federal and State Laws.

43. These terminations were not motivated by legitimate, non-retaliatory or non-

discriminatory reasons

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44. First, PPM fired Rebecca almost immediately after she refused to convince her
daughter to forego legal action against PPM. This also motivated the termination decision and
clearly shows third-party retaliation under Title VII.

45. Second, Rebecca repeatedly opposed Dr. Spivey’s sexual harassment Not only did
she tell him it was inappropriate, but she also repeatedly rebuffed his advances Rebecca’s
actions here also caused PPM to fire her, giving rise to additional retaliation, hostile work
environment, and quid pro quo sexual harassment claims

46. Finally, it seems apparent that age played a role in the decisions to fire both Rebecca
and Suzanne. Both women were in a protected class (over 40) and they were replaced by Wendy
Hufl`man-Yontz and Gretchen Hawks, significantly younger employees

47. What’s more, PPM has established a significant pattern of terminating employees_
beyond Suzanne and Rebecca_in this protected class including Jennifer Bailey (DOB, upon
information and belief, April 15, 1956); Sheridan Allen (DOB, upon information and belief,
October 19, 1970); Mary Pike (DOB, upon information and belief, January 27, 1955); Susan
Sanders (DOB, upon information and belief, June 5, 1956); Katherine Skowronski (DOB, upon
information and belief, June 17, 1952); Lisa Palmer (DOB, upon information and belief, June 17,
1957); and Scarlet Link (DOB, upon information and belief, January 9, 1957). These individuals
upon information and belief, Were all terminated between January and September 2016.

48. These age-based termination decisions are interwoven with PPM’s retirement plans

for its employees specifically its newest employer tax incentive plan, known as the cash balance

plan.

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49. The cash balance plan, which was enacted in 2014 and retroactively incorporated
2013, has a three-year cliff vesting Individuals non-electively enrolled in this plan, who were
actively employed in 2013 and on PPM’s payroll as of December 31, 2016, would be eligible for
full benefits at retirement, regardless of future employment status The amount of money eligible
to an employee fully vested in the cash balance plan was based on a predetermined formula that
factored in employee specific earning history, tenure, and age.

50. Both Dr. Spivey and Mrs. Spivey participated in a plan which set aside corporate tax-
deferred sums of money for themselves On top of that, PPM employees who quit or were
terminated prior to full vesting in the cash balance plan, forfeited any of PPM’s tax-exempt
monies already put in their pension plans This forfeited money, contributed annually by PPM,
reverted directly back to Dr. Spivey, Mrs. Spivey, and their daughter, Jennifer Spivey McGraw,
per the articles incorporated in PPM’s cash balance summary plan description

51. The funding of each individual employee’s plan was based on age_the older the
employee, the more money that PPM put in. Simply put, PPM, Dr. Spivey, and Mrs. Spivey

benefited financially by firing older employees

52. On December 5, 2016, Rebecca filed a Charge of Discrimination (435-201'7-00151)
With the EEOC, alleging unlawful retaliation, sexual harassment, and discrimination in violation
of the ADEA and Title VII. She specifically alleged that PPM had a pattern and practice of

terminating older employees

53. Previously, on May 27, 2016, Suzanne filed a Charge of Discrimination
(430-2016-01529) with the EEOC, alleging unlawful retaliation and discrimination in violation
of the ADEA and Title VIl. She also specifically alleged that PPM had a pattern and practice of

terminating older employees

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54. On May 11, 2017, the EEOC sent Rebecca a Right to Sue letter, stating that it is
terminating its processing of the Charge (435~2017-00151) because it determined that it would
be unlikely to complete its administrative processing within 180 days from the filing of that
Charge.

55. On May 22, 2017, the EEOC sent Suzanne a Right to Sue letter on Charge
(430-2016-01529).

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Violation of the Age Discrimination in Employment Act
(Both Plaintiffs against Defendant PPM)

56. The allegations contained in the foregoing paragraphs are incorporated by reference
herein.

57. Plaintiff` Kovalich is, and at all relevant times was, an employee covered by the
protections of the Age Discrirnination in Employment Act of 1967, 29 U.S.C. § 621 et. seq.
(“ADEA”).

58. Plaintiff Nagelski is, and at all relevant times was, an employee covered by the
protections of the ADEA.

59. Defendant PPM employed at least 20 employees and was engaged in commerce at all

relevant times.

60. Plaintiff` Kovalich was a 71 -year-old employee at the time of her termination
61. PlaintiffNageIski was a 49~year-old employee at the time of her termination

62. Plaintiffs were qualified for their positions at all relevant times.

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63. Defendant PPM treated Plaintiff` Kovalich disparater in relation to her similarly
situated peers that were under the age of 40 and/or peers who Were significantly younger than
Plaintiff Kovalich.

64. Defendant PPM treated Plaintiff Nagelski disparater in relation to her similarly
situated peers that were under the age of 40 and/or peers who were significantly younger than
Plaintiff Nagelski.

65. Defendant PPM otherwise exhibited age bias by, but not limited to, explicitly seeking
to employ a younger workforce, systematically terminating older employees, demoting Plaintiffs,
and ultimately terminating Plaintiffs.

66. Defendant PPM violated the ADEA by demoting, terminating, and otherwise treating
disparately Plaintiff Kovalich because of her age.

67. Defendant PPM violated the ADEA by demoting, terminating, and otherwise treating
disparater PlaintiffNagelski because of her age.

68. Defendant PPM also engaged in a pattern or practice of age discrimination which
resulted in Plaintiffs’ terminations, which also violated the ADEA.

69. Defendant PPM’s explanations for Plaintiff` Kovalich’s termination and otherwise
disparate treatment amount to pretext for unlawful age discrimination

70. Defendant PPM’s explanations for Piaintiff` Nagelski’s termination and otherwise
disparate treatment amount to pretext for unlawful age discrimination

71. Moreover, Defendant PPM violated the ADEA when it terminated Plaintiff Kovalich

because it did so in retaliation for Plaintiff Nagelski’s protected activity under the ADEA.

Defendant PPM went so far as to pressure Plaintifi" Kovalich into talking Plaintiff Nagelski out of

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pursuing an age discrimination claim. When Plaintiff Kovalich refused, Defendant PPM illegally
fired her.

72. As an actual, proximate, and foreseeable result of Defendant PPM’s wrongful
conduct, Plaintiff Kovalich has suffered lost income and other fringe benefits, damage to
reputation, medical expenses, consequential damages, and other damages in an amount sufficient
to invoke Superior Court jurisdiction under N.C.G.S. §7A-243, and is otherwise entitled to
recover compensatory damages in a sufficient amount to invoke Superior Court jurisdiction
under N.C.G.S. §7A-243.

73. As an actual, proximate, and foreseeable result of Defendant PPM’s wrongful
conduct, PlaintiH Nagelski has suffered lost income and other fringe benefits, damage to
reputation, medical expenses, consequential damages, and other damages in an amount sufficient
to invoke Superior Court jurisdiction under N.C.G.S. §7A-243, and is otherwise entitled to
recover compensatory damages in a sufficient amount to invoke Superior Court jurisdiction
under N.C.G.S. §7A-243.

74. Defendant PPM’s actions were done willfully and in a manner that demonstrates a
reckless disregard for Plaintiff Kovalich’s rights under the ADEA. As a result of Defendant
PPM’s conduct, Plaintiff Kovalich is entitled to recover liquidated damages and other damages in

a sum sufficient that subject matter jurisdiction is properly vested in the Superior Court division

pursuant to N.C. Gen. Stat. § 7A-243.

75. Defendant PPM’s actions were done willfully and in a manner that demonstrates a
reckless disregard for Plaintiff Nagelski’s rights under the ADEA. As a result of Defendant

PPM’s conduct, Plaintiff Kovalich is entitled to recover liquidated damages and other damages in

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a sum sufficient that subject matter jurisdiction is properly vested in the Superior Court division

pursuant to N.C. Gen. Stat. § 7A~243.
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Vr`olation of Title VII of the Civil Rights Act 0f1964
(Both Plaintif’fs Against Defendant PPM)

76. The allegations contained in the foregoing paragraphs are incorporated by reference
herein.

77. Defendant Dr. Spivey’s sexual advances were intentionally directed at Plaintif`f
Kovalich. _;

78. He directed those unwanted advances towards Plaintiff Kovalich because she is a
female.

79. Plaintiff Kovalich suffered intentional, unwanted harassment because of her sex; the
harassment was severe or pervasive; the harassment negatively affected the terms, conditions, or
privileges of her employment; the harassment would detrimentally affect a reasonable person of
the same sex; and management knew about the harassment or should have known, and failed to
take prompt, remedial action.

80. As a result of the harassment, Plaintiff Kovalich suffered severe emotional distress

Sl. Defendant PPM violated Title VII by subjecting Plaintiff` Kovalich to a hostile work
environment on the basis of her sex.

82. What’s more, Defendant PPM demoted, terminated, and otherwise subjected Plaintiff

Kovalich to disparate treatment and/or retaliation because she refused to assent to his sexual

advances and propositions

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83. In other words, Plaintiff Kovalich also advances on a quid pro quo sexual harassment
theory.

84. Defendant PPM further unlawfully retaliated against Plaintiff Kovalich, in violation
of Title VII, by terminating Plaintiff Kovalich’s employment because she rejected Dr. Spivey’s
sexual advances or otherwise engaged in protected activity by opposing the advances and
behavior.

85. Defendant PPM also unlawfully terminated Plaintiff Nagelski’s employment because
she objected to terminating an employee on the basis of that employee’s sexual orientation
Plaintiff Nagelski’s opposition to this termination, in good faith, amounts to protected activity
under Title VII.

86. Defendant PPM violated Title VII by retaliating against Plaintiff Nagelski for
engaging in protected activity and terminating her employment

87. Moreover, Defendant PPM violated Title VII when it terminated Plaintiff Kovalich
because it did so in retaliation for Plaintiff Nagelski’s protected activity under Title VII.
Defendant PPM went so far as to pressure Plaintiff Kovalich into talking Plaintiff Nagelski out of
pursuing a discrimination claim. When Plaintiff Kovalich refused, Defendant PPM illegally fired
her.

88. As an actual, proximate, and foreseeable result of Defendant PPM’s wrongful
conduct, Plaintiff Kovalich has suffered lost income and other fringe benefits, damage to
reputation, medical expenses, consequential damages and other damages in an amount sufficient

to invoke Superior Court jurisdiction under N.C.G.S. §7A-243, and is otherwise entitled to

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recover compensatory damages in a sufficient amount to invoke Superior Court jurisdiction
under N.C.G.S. §7A-243.

89. As an actual, proximate, and foreseeable result of Defendant PPM’s wrongful
conduct, Plaintiff Nagelski has suffered lost income and other fringe benefits, damage to
reputation, medical expenses, consequential damages and other damages in an amount sufficient
to invoke Superior Court jurisdiction under N.C.G.S. §7A-243, and is otherwise entitled to
recover compensatory damages in a sufficient amount to invoke Superior Court jurisdiction
under N.C.G.S. §7A-243.

90. Defendant PPM’s actions were done maliciously, willfully, or wantonly or in a
manner that demonstrates a reckless disregard for Plaintiff Kovalich’s rights As a result of
Defendant PPM’s conduct, Plaintiff Kovalich is entitled to recover punitive damages in an
amount sum sufficient that subject matter jurisdiction is properly vested in the Superior Court
division pursuant to N.C.G.S. § 7A-243.

91. Defendant PPM’s actions were done maliciously, willfillly, or wantonly or in a
manner that demonstrates a reckless disregard for Plaintiff Nagelski’s rights As a result of
Defendant PPM’s conduct, Plaintiff Nagelski is entitled to recover punitive damages in an
amount sum sufficient that subject matter jurisdiction is properly vested in the Superior Court
division pursuant to N.C.G.S. § 7A-243.

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Wrongful Discharge in Violation ofPublic Policy
(Both Plaintiffs Against Defendant PPM)

92. The allegations contained in the foregoing paragraphs are incorporated by reference

herein.

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93. Plaintiff Kovalich was an at-will employee

94. Plaintiff Nagelski was an at-will employee

95. The public policy of the State of North Carolina, as set forth in N.C.G.S. § 143-422.1
et seq., North Carolina’s Equal Employment Practices Act, prohibits employers from
discriminating against employees on the basis of their age and sex.

96. Defendant PPM violated North Carolina public policy by terminating Plaintiff
Kovalich because of her age and on the basis of her sex.

97. Defendant PPM violated North Carolina public policy by terminating Plaintiff

Nagelski because of her age and on the basis of her sex.

98. Defendant PPM violated the public policy of North Carolina as set forth in N.C. Gen.
Stat. § 95-151 (Occupational Safety and Health Act) by terminating Plaintiff Nagelski on the
basis of her gender.

99. Defendant PPM violated the public policy of North Carolina as set forth in N.C. Gen.
Stat. § 95-151 (Occupational Safety and Health Act) by terminating Plaintiff Kovalich on the

basis of her gender.

100. Defendant PPM violated the public policy of North Carolina as set in N.C. Gen.
Stat. § 14-203 et seq. by terminating Plaintiff Kovalich for opposing quid pro quo sexual
harassment

101 . As an actual, proximate, and foreseeable result of Defendant PPM’s actions, Plaintiff
Kovalich has suffered lost income and other fringe benefits, damage to reputation, severe

emotional distress, severe mental distress and anxiety, depression, embarrassment, humiliation,

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and other compensatory damages in an amount in sum sufficient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

102. As an actual, proximate, and foreseeable result of Defendant PPM’s actions, Plaintiff
Nagelski has suffered lost income and other fringe benefits, damage to rcputation, severe
emotional distress, severe mental distress and anxiety, depression, embarrassment, humiliation,
and other compensatory damages in an amount in sum sufficient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

103. Defendant PPM’s actions were done maliciously, willfully, wantonly, or in a manner
that demonstrates a reckless disregard for Plaintiff Kovalich’s rights As a result of Defendant
PPM’s conduct, Plaintiff Kovalich is entitled to recover punitive damages in sum sufficient that
subject matter jurisdiction is properly vested in the Superior Court division pursuant to N.C.
Gen. Stat. § 7A-243. Defendant PPM’s officers, directors, and managers participated in and
condoned the malicious, willful, Wanton, and reckless conduct alleged above.

104. Defendant PPM’s actions were done maliciously, willfully, wantonly, or in a manner
that demonstrates a reckless disregard for Plaintiff Nagelski’s rights. As a result of Defendant
PPM’s conduct, Plaintiff Nagelski is entitled to recover punitive damages in sum sufficient that
subject matter jurisdiction is properly vested in the Superior Court division pursuant to N.C.
Gen. Stat. § 7A-243. The Company’s oHicers, directors, and managers participated in and

condoned the malicious, willful, wanton, and reckless conduct alleged above.

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Tortious Interference with Contract
(Both Plaintiffs Against Defendants Dr. Spivey and Mrs. Spivey)

105. The allegations contained in the foregoing paragraphs are incorporated by reference
herein.

106. Plaintiff Nagelski had an at-will employment contract with Defendant PPM.

107. Plaintiff Kovalich had an at-will employment contract with Defendant PPM.

108. Defendant Dr. Spivey, without justification, maliciously induced Defendant PPM to
terminate its at-will employment contract With Plaintiff Kovalich.

109. Defendant Dr. Spivey, without justification, maliciously induced Defendant PPM to
terminate its at-will employment contract with Plaintiff Nagelski.

ilO. Defendant Mrs. Spivey, Without justification, maliciously induced Defendant PPM
to terminate its at-will employment contract With Plaintiff Kovalich.

lll. Defendant Mrs. Spivey, Without justification, maliciously induced Defendant PPM
to terminate its at-will employment contract with Plaintiff Nagelski.

112. Defendants Dr. Spivey and Mrs. Spivey acted with design to injure Plaintiffs and to
gain an advantage at their expense. Speciiically, Defendant Mrs. Spivey interfered with Plaintiff
Nagelski’s at~will employment contract with Defendant PPM in an effort to retaliate against her
for resisting unethical and discriminatory behavior, and/or for their own financial gain

113. Defendant Mrs. Spivey interfered with Plaintiff Kovalich’s at-will employment

contract with Defendant PPM for being the target of Defendant Dr. Spivey’s sexual harassment

and/or for her own financial gain.

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114. Defendant Dr. Spivey interfered with Plaintiff Nagelski’s at-will employment
contract with Defendant PPM in an effort to retaliate against her for resisting unethical and
discriminatory behavior, and/or for his own financial gain.

115. Defendant Dr. Spivey interfered with Plaintiff Kovalich’s at-will employment
contract with Defendant PPM for failing to convince Defendant Nagelski to drop her potential
case against Defendant PPM and for refusing his sexual advances.

116. Defendant Dr. Spivey’s means and motives for interfering with Plaintiff Kovalich’s
contract were improper. Defendant Dr. Spivey acted for his own benefit in interfering with
Plaintiff Kovalich’s contract, rather than in the best interest of Defendant PPM. Defendant Dr.
Spivey exceeded the scope of his authority when demoting and ultimately terminating Plaintiff
Kovalich for these reasons.

117. Defendant Mrs. Spivey’s means and motives for interfering with Plaintiff Kovalich’s
contract were improper. Defendant Mrs. Spivey acted for her own benefit in interfering with
Plaintiff Kovalich’s contract, rather than in the best interest of Defendant PPM. Defendant Mrs.
Spivey exceeded the scope of her authority when demoting and ultimately terminating Plaintiff
Kovalich for these reasons.

118. Defendant Dr. Spivey’s means and motives for interfering With Plaintiff Nagelski’s
contract Were improper. Defendant Dr. Spivey acted for his own benefit in interfering with
Plaintiff Nagelski’s contract, rather than in the best interest of Defendant PPM. Defendant Dr.
Spivey exceeded the scope of his authority when demoting and ultimately terminating Plaintiff

Nagelski for these reasons

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119. Defendant Mrs. Spivey’s means and motives for interfering with Plaintiff Nagelski’s
contract were improper. Defendant Mrs. Spivey acted for her own benefit in interfering with
Plaintiff Nagelski’s contract, rather than in the best interest of Defendant PPM. Defendant Mrs.
Spivey exceeded the scope of her authority when demoting and ultimately terminating Plaintiff
Nagelski for these reasons.

120. As an actual, proximate, and foreseeable result of Defendant PPM’s actions, Plaintiff
Kovalich has suffered lost income and other fringe benefits, damage to reputation, severe
emotional distress, severe mental distress and anxiety, depression, embarrassment, humiliation,
and other compensatory damages in an amount in sum sufficient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

121. As an actual, proximate, and foreseeable result of Defendant PPM’s actions, Plaintiff
Nagelski has suffered lost income and other fringe benefits, damage to reputation, severe
emotional distress, severe mental distress and anxiety, depression, embarrassment humiliation,
and other compensatory damages in an amount in sum sufficient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

122. Defendant PPM’s actions were done maliciously, Willfully, wantonly, or in a manner
that demonstrates a reckless disregard for PlaintiH Kovalich’s rights. As a result of Defendant
PPM’s conduct, Plaintiff Kovalich is entitled to recover punitive damages in sum sufficient that
subject matter jurisdiction is properly vested in the Superior Court division pursuant to N.C.
Gen. Stat. § 7A-243. Defendant PPM’S officers, directors, and managers participated in and

condoned the malicious, willli.il, wanton, and reckless conduct alleged above.

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123. Defendant PPM’s actions were done maliciously, willfully, wantonly, or in a manner
that demonstrates a reckless disregard for Plaintiff Nagelski’s rights. As a result of Defendant
PPM’s conduct, Plaintiff Nagelski is entitled to recover punitive damages in sum sufficient that
subject matter jurisdiction is properly vested in the Superior Court division pursuant to N.C.
Gen. Stat. § 7A-243. The Company’s officers, directors, and managers participated in and

condoned the malicious, willful, wanton, and reckless conduct alleged above.

E.E|l c f ! |.
Violation ofERISA, 29 U.S. C. § 1140
(Both Plaintiffs Against Defendants)

124. The allegations contained in the foregoing paragraphs are incorporated by reference
herein.

125. Defendant PPM granted employee benefits to Plaintiff Kovalich, including defined
benefits retirement programs, separate and apart from 401k and Safe harbor plans. As Such,
Kovalich belonged to a protected class under ERISA.

126. Defendant PPM granted employee benefits to Plaintiff Nagelski, including defined
benefits retirement programs, separate and apart from 401k and safe harbor plans. As such,
Nagelski belonged to a protected class under ERISA.

127. Plaintiff Kovalich was qualified for her position.

128. Plaintiff Nagelski Was qualified for her position.

129. Defendant PPM’s plan at issue had three-year cliff vesting, Which it made retroactive

to 2013.

130. Individuals enrolled in that plan in Defendant PPM’s payroll as of December 31,

2016, would be fully enrolled regardless of future employment status.

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131. Defendants Dr. Spivey and Mrs. Spivey set aside tax deferred sums of money for
themselves. Moreover, Defendant PPM employees who quit or were terminated prior to full
vesting forfeited tax exempt money already put in their plans back to Defendant Dr. Spivey.

132. Each individual employee’s money funded into this plan was based on age_i.e., the
older the employee, the more money that Defendant PPM put into the plan.

133. Defendants terminated Plaintiff Kovalich to prevent her benefits from vesting.

134. Defendants terminated Plaintiff Nagelski to prevent her benefits from vesting.

135. Defendant’s decision to terminate Plaintiff Kovalich was specifically intended to
interfere with Plaintiff Kovalich’s attainment of an entitled right under the statute.

136. Defendant’s decision to terminate Plaintiff Nagelski was specifically intended to
interfere with Plaintiff Nagelski’s attainment of an entitled right under the statute.

137. As an actual, proximate, and foreseeable result of Defendants’ actions, Plaintiff

Kovalich has suffered lost income and other fringe benefits, damage to reputation, severe
emotional distress, severe mental distress and anxiety, depression, embarrassment humiliation,
and other compensatory damages in an amount in sum sufficient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

138. As an actual, proximate, and foreseeable result of Defendantss actions, Plaintiff
Nagelski has suffered lost income and other fringe benefits, damage to reputation, severe
emotional distress, severe mental distress and anxiety, depression, embarrassment, humiliation,
and other compensatory damages in an amount in sum suHicient that subject matter jurisdiction
is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. § 7A-243.

139. Defendants’ actions were done maliciously, willfiilly, wantonly, or in a manner that
demonstrates a reckless disregard for Plaintiff Kovalich’s rights. As a result of Defendants’

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conduct, Plaintiff Kovalich is entitled to recover punitive damages in sum sufficient that subject
matter jurisdiction is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. §
7A-243.

140. Defendants’ actions were done maliciously, willfully, wantonly, or in a manner that

demonstrates a reckless disregard for Plaintiff Nagelski’s rights. As a result of Defendants’
conduct, Plaintiff Nagelski is entitled to recover punitive damages in sum sufficient that subject
matter jurisdiction is properly vested in the Superior Court division pursuant to N.C. Gen. Stat. §
7A-243. The Company’s officers, directors, and managers participated in and condoned the

malicious, willful, Wanton, and reckless conduct alleged above.

JUBX TRIAL llEMANDEI)

WHEREFORE, the Plaintiffs pray the Court to:

1. Enter a judgment against Defendant PPM and order Defendant PPM to pay Plaintiff
Kovalich compensatory damages in excess of the sum sufficient for subject matter
jurisdiction to be properly vested in the Superior Court division pursuant to N.C.G.S. §
7A-243;

2. Enter a judgment against Defendant PPM and order Defendant PPM to pay Plaintiff
Nagelski compensatory damages in excess of the sum suiiicient for subject matter
jurisdiction to be properly vested in the Supen'or Court division pursuant to N.C.G.S. §
7A-243;

3. Enter a judgment against Defendant Dr. Spivey and order Defendant Dr. Spivey to

pay Plaintiff Kovalich compensatory damages in excess of the sum sufficient for subject

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matter jurisdiction to be properly vested in the Superior Court division pursuant to N.C.G.S.
§ 7A-243;

4. Enter a judgment against Defendant Dr. Spivey and order Defendant Dr. Spivey to
pay Plaintiff Nagelski compensatory damages in excess of the sum Sufficient for subject
matter jurisdiction to be properly vested in the Superior Court division pursuant to N.C.G.S.
§ 7A-243;

5. Enter a judgment against Defendant Mrs. Spivey and order Defendant Mrs. Spivey to
pay Plaintiff Kovalich compensatory damages in excess of the sum sufficient for subject
matter jurisdiction to be properly vested in the Superior Court division pursuant to N.C.G.S.
§ 7A-243;

6. Enter a judgment against Defendant Mrs. Spivey and order Defendant Mrs. Spivey to
pay Plaintiff Nagelski compensatory damages in excess of the sum sufficient for subject
matter jurisdiction to be properly vested in the Superior Court division pursuant to N.C.G.S.
§ 7A-243;

7. Award Plaintiff Kovalich punitive damages pursuant to N.C.G.S. § lD-l et seq. and
under any other claim above allowing the recover of punitive damages;

8. Award Plaintiff Nagelski punitive damages pursuant to N.C.G.S. § lD-l et seq. and
under any other claim above allowing the recover of punitive damages;

9. Award Plaintiff Kovalich liquidated damages pursuant to the ADEA;

10. Award Plaintiff Nagelski liquidated damages pursuant to the ADEA;

ll. Award Plaintiff Kovalich treble damages pursuant to ERISA;

12. Award Plaintiff Nagelski treble damages pursuant to ERISA;

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13. Award Plaintiff Kovalich all reasonable costs and attorney’s fees incurred in
connection with this action;

14. Award Plaintiff Nagelski all reasonable costs and attorney’s fees incurred in
connection with this action;

15. Award Plaintiff Kovalich such other and further equitable relief as the Court deems
appropriate under the circumstances;

16. Award Plaintiff Nagelski such other and further equitable relief as the Court deems
appropriate under the circumstances; and

17. Grant Plaintiff Kovalich a trial of this matter by a jury.

18. Grant Plaintiff Nagelski a trial of this matter by a jury.

This the Z;gilay of July, 2017 .

 

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